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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF TEXAS
HOUSTON DIVISION

DISH NETWORK L.L.C.
and NAGRASTAR LLC,
Civil Action No.
Plaintiffs,

Vv.

CREN MOTASAKI, ATTA UR RAUF,
RAFAYET ALAM, PEPIN WOOLCOCK,
SAJAN KYUBI SHRESTHA, and

DOES 1-11, individually and collectively
d/b/a Voodoo IPTV,

Defendants.

D222 2? LOR COR COR LOD LOD LORD. LOR LOD LOR LOD KO? COD

DECLARTION OF KEVIN MCMONNIES

I, KEVIN MCMONNIES, of Englewood, Colorado declare as follows:

1. I make this declaration based on personal knowledge and, if called upon to testify,
would testify competently as stated herein.

2. I am the Director of Field Security and Investigations for Plaintiff NagraStar LLC
(“NagraStar”). I have been employed with NagraStar since 2006. NagraStar provides encryption
technology used by Plaintiff DISH Network L.L.C. (“DISH”) to protect its satellite transmissions
of television programming from piracy, i.e., unauthorized reception, retransmission, or viewing. I
am responsible for NagraStar’s anti-piracy investigations and support of legal actions worldwide,
including this case. The investigation described in this declaration was performed by myself and
employees of NagraStar working under my direction and supervision.

3. NagraStar conducted periodic tests of the Voodoo IPTV streaming service to
determine if television programming that originated from DISH’s satellite communications was

retransmitted without authorization to users of the Voodoo IPTV service. The testing was

 
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conducted by incorporating encoded messages into DISH’s satellite communications and then
viewing channels on the Voodoo IPTV service to observe those encoded messages, which
confirmed the programming did in fact originate from DISH’s satellite communications.
NagraStar monitored only a subset of the channels offered on the Voodoo IPTV service between
February 28, 2019 and March 12, 2020, and observed approximately 86 channels on the Voodoo
IPTV service that originated from DISH’s satellite communications, including:
a. Movie channels such as Showtime 2 and Showtime East;
b. Sports channels such as TUDN and Willow Cricket;
c. International channels such as Aapka Colors, ARY Digital, ARY News, ARY
Zauq, Azteca America, Centroamerica Oe6este, Dunya TV, Express
Entertainment, Express News, Galavision, Hum Sitaray, Hum TV, MBC1,
MBC Masr, Murr TV, OTV, Pasiones, Record TV Americas, SAB, Sony SET,
Telemundo Oeste, TV Globo Internacional, TVI Internacional, Univision Este,
Univision Oeste, and Zee TV;
d. Additional channels originating from DISH’s satellite transmissions such as the
BET, Cooking, Lifetime, and USA Network channels.
A true and correct copy of a relevant excerpt of NagraStar’s monitoring report dated March
12, 2020 concerning the Aapka Colors, Sony SET, and Willow Cricket channels is attached as
Exhibit 1, which is representative of the channel monitoring analysis conducted by NagraStar.
4, NagraStar identified eleven DISH subscription accounts that were used to supply
or “seed” the Voodoo IPTV service with channels originating from DISH’s satellite
communications (the “Seeder Accounts”). One Seeder Account was identified based upon visual

observation of DISH’s “Partial Signal Loss” error message appearing on the television screen

 
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when monitoring Willow Cricket on the Voodoo IPTV service. This error message identified the

serial number of the DISH satellite receiver and NagraStar smart card assigned to the DISH

subscription account used to provide that channel for the Voodoo IPTV service. A screenshot of

this DISH error message is attached as Exhibit 2. NagraStar used the serial numbers set forth in

the error message to identify DISH account 8255909669762889 held in the name of Ellie Alsajkar

at 545 8" Ave Apt 619, New York, NY 10018 as one of the Seeder Accounts.

5.

NagraStar identified ten Seeder Accounts by temporarily deactivating and then

reactivating DISH satellite receivers that were associated with the following DISH subscription

accounts:

DISH account 8255909331289063 held in the name of Mudhar Alabousi at 5

Colomba Dr Apt 500-10f, Niagara Falls, NY 14305, elsa6900@yahoo.com;

. DISH account 8255909667382458 held in name of Sumit Gill at 18 Delham

Ave, Buffalo, NY 14216, gil37263@gmail.com;

DISH account 8255909110513063 held in name of Al and Gia Bander at 149
Fall Dr, Columbus, GA 31907, bander1 76@yahoo.com;

DISH account 82559091 12528010 held in the name of Jennifer Rock at 90 Vine
St, Athens, GA 30601, esa03 @yahoo.com;

DISH account 8255909657584675 held in the name of Lucas Lima at 18
Jamesriver Rouge, River Rouge, MI 48218;

DISH account 8255909665427214 held in the name of Connie Yepez at 2316

Delaware Ave Apt 152, Buffalo, NY 14216, connie_yepez71@yahoo.com;

. DISH account 8255909330255057 held in the name of Chris Lorenzen at 545

8"" Ave Apt 466, New York, NY 10018;

 
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h. DISH account 8255909272325199 held in the name of Marvin Macon at 165
Griffen Rd, Trego, MT 59934;

i. DISH account 8255909668326074 held in the name of Joyce Freeman at 738
Delaware Ave Apt 302, Buffalo, NY 14209; and

J. DISH account 8255909110643886 held in the name of Gustavo & Mari
Gonzalez at 183 Dixie Ave, Macon, GA 31206, marigon22@yahoo.com.

6. Within minutes of NagraStar deactivating the DISH satellite receivers associated
with the ten DISH accounts identified in paragraph 5, the channels on the Voodoo IPTV service
became unavailable and displayed DISH’s notification stating that a subscription was required.
When NagraStar reactivated the DISH satellite receivers minutes later, the channels resumed
transmitting on the Voodoo IPTV service. The foregoing establishes that the DISH subscription
accounts identified in paragraph 5 were used to supply the Voodoo IPTV service with content
originating from DISH’s satellite communications.

de. NagraStar obtained CLEAR investigative reports and reviewed other public records
concerning the names, mailing addresses, telephone numbers, and email addresses that, according
to DISH’s subscription account records, are associated with the eleven Seeder Accounts identified
in paragraphs 4-5. NagraStar was unable to connect the account holders to the contact information
listed in the DISH records. It is my belief that the eleven Seeder Accounts were created using
incorrect names and contact information.

8. One Seeder Account, DISH account 8255909272325199, was established through

a retailer named Burton’s Satellite, Inc., a Montana corporation located in Bigfork, Montana.

 
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9. Another Seeder Account, DISH account 82559091 10513063, was established
through a former retailer named Global Connections Television, an inactive Tennessee corporation
that was located in Knoxville, Tennessee and believed to be operated by Fadi Gharbich.

10. Five unique Internet Protocol (“IP”) addresses have been used to access the eleven
Seeder Accounts identified in paragraphs 4-5. IP address 99.230.90.114 was used to access seven
of the Seeder Accounts, is owned by Rogers Cable, and is located in Toronto, Ontario, Canada. IP
addresses 23.111.165.2 and 66.165.246.214 were used to access one of the Seeder Accounts and
are owned by Hivelocity, Inc., which is located in Tampa, Florida. The foregoing further supports
my belief that the Seeder Accounts identified by NagraStar were each established with a name and
contact information that does not correspond with the person responsible for the account.

11. The eleven Seeder Accounts identified in paragraphs 4-5, according to DISH’s
subscription account records, had a combined total of approximately 43 credit cards that were a

source of payment on the accounts including:

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

| 373355428283003 4514076532039121 5113405167700941
4214020060071836 4520340008144076 5113409835765120
4214020060071844 4520709002744430 5181271022000563
4214020060302983 4520848001870265 5191230096361127
4214020064074257 4520850017634941 5191230149797723
4214020065101471 4520880026205276 5191230184402684
4214020067140774 4520883003009448 5193940000277411
4214020069424259 4520883005884434 5415902500986497
4500033602678730 4537040788280048 5415902750193109
4500040000536295 4729260135935544 5457568078977884
4500050023580907 5113400369118604 5457568927086275
4510156016603586 5113401346871604 5491981473367106
4512108905463901 5113402973792527 5526122000074548
4514011400562631 5113404142614459
4514011803241783 5113405131637971

 

 

The foregoing appear to be one American Express card based upon the first number “3”, 24 Visa
cards based upon the first number “4”, and 18 Mastercard cards based upon the first number “5.”

NagraStar’s experience in prior cases is that card networks such as Visa, Inc. and Mastercard Inc.

 
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are unable to identify a particular credit card account holder based on the account number. Instead,
card networks like Visa and Mastercard are only able to identify the bank or financial institution
that issued the credit card, and discovery must be conducted on the card issuer to identify the actual
account holder. Internet searches on the first six digits of the credit cards identified the bank or
financial institution believed to have issued many of the credit cards, but NagraStar’s experience
in prior cases is that this information is not always accurate. Accordingly, NagraStar seeks to issue
subpoenas to Visa, Mastercard, American Express, and the identified banks or financial
institutions, or their United States parents or subsidiaries, that are believed to have issued the credit
cards, including Bank of America, N.A.; BMO Harris Bank, N.A.; Capital One Bank (USA), N.A.;
CIBC Bancorp USA Inc.; Citizens Bank, N.A.; HSBC Bank USA, N.A.; RBC Bank (Georgia),
N.A.; TD Bank, N.A.; and The Bank of Nova Scotia.

12. Device Codes designed and provided for the purpose of enabling customers to
access servers that are used to stream the television programming on the Voodoo IPTV pirate
streaming service, including DISH’s satellite communications, were sold on various websites,
including Iptvvoodoo.com, Voodootv.in, and Buyiptvonline.net (collectively, the “Voodoo IPTV
Domains”). The Device Codes are designed to be used with Android TV Boxes including
MAG254, which are sold on the Phatelectronics.com website. Attached as Exhibit 3 is a true and
correct copy of the DomainTools Whois records for the Voodoo IPTV Domains and
Phatelectronics.com showing:

a. GoDaddy.com, LLC was the registrar of Iptvvoodoo.com and was believed to
be the website host because of the Name Servers identifying
“domaincontrol.com”;

b. Domains By Proxy, LLC was the privacy proxy service of Iptvvoodoo.com;

 
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c. Enom, Inc. was the registrar of Voodootv.in;

d. Namecheap, Inc. was believed to be the website host of Voodootv.in because
of the Name Servers identifying “name-services.com”; and

e. Endurance International Group, Inc. is the privacy proxy service of
Phatelectronics.com, and is believed to be the registrar through its subsidiary
FastDomain Inc. and the website host because of the Name Servers identifying
“netfirms.com.”

13, The portal address for the Voodoo IPTV pirate streaming service is
http://voodoo.dynsite.tm:88/stalker _portal/c/. Attached as Exhibit 4 is a true and correct copy of
the DomainTools Whois records for the dynsite.tm domain showing that its IP address is owned
and located at Dynamic Network Services, Inc.

14. Defendant Pepin Woolcock appears to control the website for IKXS Support found
at https://pepinw.wixsite.com/ikxs, which offers IPTV services. Attached as Exhibit 5 is a true
and correct copy of the DomainTools Whois records for the wixsite.com domain showing that its
IP address is owned and located at Wix.com Ltd. The current entity controlling Wix.com appears
to be Wix.com, Inc.

15. Payments for the Device Codes are believed to be received by Defendants through
online payment processors such as PayPal, Inc. with email addresses including
mynameiscren@hotmail.com and esolutionsonline.ca@gmail.com. Defendants have also used
PayPal accounts with email addresses including cre2v9hn@outlook.com,
goodstuff4you247@gmail.com, and rafay98@hotmail.com to make piracy related sales or
purchases. PayPal may also be able to identify the Doe Defendants by the following email

addresses associated with:

 
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a. Defendants: rabdul@gmail.com, rafa98@hotmail.com, raf98@hotmail.com,
rafay@rogers.com, 18 77ftaguru@gmail.com, sajansthal 9S9@gmail.com;

b. the Voodoo IPTV Domains and Phatelectronics.com: admin@anguillais.us,
vearibtv@gmail.com, vivostreamus@gmail.com, shahidigqbal001 @gmail.com,
info@phatelectronics.com, phatelectronics2k] 2@gmail.com,
kewltvdr@gmail.com, subscription@buyiptvonline.net,
info@buyiptvonline. net, help@buyiptvonline.net; and

c. the Seeder Accounts: elsa6900@yahoo.com, gil3 7263 @gmail.com,
bander176@yahoo.com, esa03@yahoo.com, connie_yepez71 @yahoo.com,
and marigon22@yahoo.com.

16. Google, Inc. provides “@gmail.com” email accounts. Microsoft Corporation
provides “@hotmail.com” and “@outlook.com” email accounts. Oath Inc. or Verizon Media
provide “@yahoo.com” email accounts. Therefore, Google, Microsoft, and Oath may also be able
to identify the Doe Defendants by the email addresses identified in paragraph 15.

17. Defendants have Facebook pages located at:

a. https://www.facebook.com/pepinw;

b. https://www.facebook.com/attaurraufl ;

G https://www.facebook.com/phatelectronicsine;

d. https://www.facebook.com/alam.rafayet; and

e. https://www.facebook.com/insane.d3vil.

18. Defendant Pepin Woolcock has an Instagram page located at
https://www.instagram.com/pepinwoolcock. Defendant Atta Ur Rauf had an Instagram page

located at https://www.instagram.com/atta.ur.rauf.

 

 
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19. Defendants have LinkedIn pages located at:
f. https://www.linkedin.com/in/rafayet-alam/:
g. https://www.linkedin.com/in/rafa-abdul-3 03a9013/;
h. https://www.linkedin.com/in/atta-ur-rauf-23a837 1a3/: and
i. https://www.linkedin.com/ in/pepin-woolcock-b3a67310/.

20. Defendant Pepin Woolcock has a Twitter page located at
https://twitter.com/pepinw.

Zl. Defendant Sajan Kyubi Shrestha has a GitHub paged located at
https://github.com/sajansthal 989.

22. The Doe Defendants are the customers of the foregoing retailers, financial
institutions, banks, and third-party service providers identified in paragraphs 8-13 and 15-16.
These retailers, financial institutions, banks, and third-party service providers are expected to have
information identifying Doe Defendants. Defendants’ third-party service providers identified in
paragraphs 14 and 17-21 may also identify the Doe Defendants and establish that all Defendants
are acting jointly in furtherance of a common scheme to steal DISH programming and resell it to
unauthorized users of the Voodoo IPTV pirate streaming service. Thus, DISH requests permission
to serve subpoenas on each retailer, financial institution, bank, and third-party service provider,
copies of which are attached to the Declaration of Stephen M. Ferguson as Exhibits 1-30.

23.  NagraStar conducted a thorough investigation of the Seeder Accounts, retailer
accounts, financial institution and bank accounts, and third party service accounts listed in
paragraphs 4-21, but does not have a means for identifying Doe Defendants without the assistance
of the third-parties. It has been NagraStar’s experience that third-parties require a subpoena and

court order prior to providing information regarding the customer using their services.

 

 
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I declare under penalty of perjury that the foregoing is true and correct. Executed on May

/7 2020.

LW, Da

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